






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00632-CR






Seth Nelson, Appellant


v.


The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 5 OF TRAVIS COUNTY

NO. C1CR-08-501757, HONORABLE NANCY WRIGTH HOHENGARTEN,
JUDGE&nbsp;PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant seeks to appeal from the trial court's judgment convicting him of assault
on a family member.  After negotiating a plea bargain, appellant pled nolo contendere to the charge
and was sentenced to fifty days in jail.  The trial court has certified that appellant has no right of
appeal.  Thus, the appeal is dismissed.  See Tex. R. App. P. 25.2(d).


					__________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   December 19, 2008

Do Not Publish


